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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                           CR 1:15-077

MELVIN HOWARD




               ORDER ON MOTION FOR LEAVE OF ABSENCE


      Keith B. Johnson, having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have
been compliedwith, and no objections having been received;
      IT IS HEREBY ORDERED THAT Keith B. Johnson be granted leave of

absence for the following periods: April 4, 2016 through April 8, 2016; May 2,
2016 through May 6, 2016, August 8, 2016 through August 12, 2016;
November 21, 2016 through November 28, 2016; December 19, 2016
through December 30, 2016; and January 1,2017 through January 6, 2017.
      This /      day dLJ&fou*f . 2016.



                                       HONORABLE J. RANJ3AL HALL
                                       United States District Judge
                                       Southern District of Georgia
